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2                 COMPENSATION BY PROJECT FOR SERVICES RENDERED
                    BY BERMAN AND TODDERUD LLP FOR THE PERIOD
3                    DECEMBER 1, 2019 THROUGH DECEMBER 31, 2019
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7                             Description                  Hours        Amount

8               2000-2001 Energy Crisis FERC Litigation     117.0      $90,417.62

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